     Case 1:88-cr-01007-MW-GRJ            Document 1325          Filed 02/16/10      Page 1 of 1


                                                                                              Page 1 of 1


                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                                CASE NO. 1:88-cr-01007-MP-AK

WILLIE BUD REED, JR,

       Defendant.

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                                             ORDER

       This matter is before the Court on Motion for Relief from Judgment by Willie Bud Reed,

Jr., Doc. 1323, and a Motion to Revisit, Doc. 1324. Mr. Reed has appealed orders concerning

his judgment and sentence, Doc. 1308, and this Court has denied him leave to appeal in forma

pauperis on the grounds that his appeal is not taken in good faith, Doc. 1312. Mr. Reed now

asks this Court again to revisit his petitions, and grant him relief. This Court may not do so.

       Mr. Reed’s appeal to the United States Court of Appeals for the Eleventh Circuit divests

this Court of jurisdiction over the matters at issue in the appeal, except to the extent that this

Court must act in aid of the appeal. United States v. Hitchmon, 602 F.2d 689, 692 (5th Cir.

1979) (en banc). Therefore, this Court cannot rule on these motions, and they must be

DISMISSED for lack of jurisdiction.

       DONE AND ORDERED this               16th day of February, 2010


                                        s/Maurice M. Paul
                                   Maurice M. Paul, Senior District Judge
